Case 2:08-cv-02687-JPM-dkv Document 26 Filed 09/04/09 Page 1 of 1   PageID 134



                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                          WESTERN DIVISION
   ___________________________________________________________

   SATURN OF MEMPHIS, INC.       )
                                 )
        Plaintiff,               )
                                 )
   v.                            )    No. 2:08-cv-02687
                                 )
   UNIVERSAL UNDERWRITERS,       )
   INSURANCE COMPANY             )
                                 )
        Defendant.               )
   ___________________________________________________________

                           JUDGMENT
   ___________________________________________________________

   The parties having jointly filed a Stipulation of Dismissal
   with Prejudice in this case (Docket Entry 24),

   IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that, in
   accordance with the Stipulation of Dismissal with
   Prejudice, filed September 2, 2009, this case is DISMISSED
   WITH PREJUDICE.

   APPROVED:


   /s/ JON PHIPPS McCALLA
   CHIEF UNITED STATES DISTRICT JUDGE

   September 4, 2009
   Date
